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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Edward James Grimaldi                                                                 Case No.
                                                                                 Debtor(s)        Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: December 23, 2021                                              /s/ Edward James Grimaldi
                                                                      Edward James Grimaldi
                                                                      Signature of Debtor




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                      Capital One
                      Attn: Bankruptcy
                      PO Box 30285
                      Salt Lake City, UT 84130

                      Capital One
                      Po Box 31293
                      Salt Lake City, UT 84131

                      Cavalry Portfolio Services
                      Attn: Bankruptcy
                      500 Summit Lake Drive, Suite 400
                      Vahalla, NY 10595

                      Cavalry Portfolio Services
                      500 Summit Lake Drive
                      Valhalla, NY 10595

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                      Citibank SD MC 425
                      5800 South Corp Place
                      Sioux Falls, SD 57108

                      Citibank North America
                      Po Box 6497
                      Sioux Falls, SD 57117

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                      Commonwealth of Massachusetts
                      Office of the Attorney General
                      Fair Labor Division
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                      Boston, MA 02108

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                      Attn: Bankruptcy
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                      Norwood, MA 02062

                      Credit Collection Services
                      Po Box 710
                      Norwood, MA 02062

                      IRS
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                      Philadelphia, PA 19101-7346

                      John Whalley
                      1 Whalley Way
                      Southwick, MA 01077
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                  Kohls/Capital One
                  Attn: Credit Administrator
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                  Milwaukee, WI 53201

                  Kohls/Capital One
                  Po Box 3115
                  Milwaukee, WI 53201

                  Massachusetts Attorney General's Office
                  P.O. Box 412985
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                  MDOR
                  Bankruptcy Unit
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                  Shellpoint
                  Attn: Bankruptcy
                  P.O. Box 10826
                  Greenville, SC 29603

                  Shellpoint
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                  Greenville, SC 29601

                  Springfield Foodservice Corporation
                  d/b/a PFG Springfield
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                  PO Box 3024
                  Boston, MA 02111

                  Stacey Lee Grimaldi
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                  US Bank
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